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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                       CIVIL NO:

KAREN VICKERY,                    )
                                  )
               Plaintiff,         )
                                  )
     vs.                          )
                                  )
FINANCIAL RECOVERY SERVICES, INC. )                          COMPLAINT
                                  )
               Defendant.         )



                                      INTRODUCTION

       1.      This action arises out of Defendant’s violation of the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                JURISDICTION AND VENUE

       2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

that such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

       3.      Defendant conducts business in the state of Minnesota, personal jurisdiction is

established.

       4.      Venue in the United States District Court is proper under 28 U.S.C. § 1391(b)(1).

       5.      Declaratory relief is available pursuant to the Declaratory Judgment Act, 28

U.S.C. §§ 2201 - 2202.

                                            PARTIES

       6.      Plaintiff is a natural person residing in South Carolina.




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       7.       Plaintiff is allegedly obligated to pay a debt and is a consumer as defined by 15

U.S.C. § 1692a(3).

       8.       Defendant is a national collection agency with its principle place of business at

4900 Viking Drive, Edina, Minnesota, 55435.

       9.       Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to

collect a consumer debt from Plaintiff.

       10.      At all times relevant to this Complaint, Defendant has acted though its agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives and insurers in the District of Minnesota.

                                     FACTUAL ALLEGATIONS

       11.      Defendant constantly and continuously places collection calls to Plaintiff seeking

and demanding payment for an alleged debt.

       12.      Defendant contacts Plaintiff approximately two (2) time a day, seeking and

demanding payment for an alleged debt.

       13.      Defendant threatened to take action against Plaintiff if Plaintiff did not pay the

alleged debt.

       14.      Defendant places telephone calls without meaningful disclosure of the caller’s

identity as Defendant will call Plaintiff and hang up withouth leaving a voicemail message.

       15.      Defendant has failed to identify itself as a debt collector in subsequent

communications as Defendant will call Plaintiff and hang up withouth leaving a voicemail

message.




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                                   COUNT ONE:
             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                               15 U.S.C. § 1692 et seq.

       16.    Defendant’s violations of the FDCPA include, but are not limited to, the

following:

              a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
                 consequence of which is to harass, oppress, or abuse Plaintiff in connection
                 with the collection of a debt.
              b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring
                 repeatedly and continuously with the intent to annoy, abuse, and harass
                 Plaintiff.
              c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls
                 without meaningful disclosure of the caller’s identity because Defendant calls
                 Plaintiff and hangs up without leaving a voicemail message.
              d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an
                 attempt to collect a debt by calling Plaintiff and hanging up without leaving a
                 voicemail message.
              e. Defendant violated §1692e(10) of the FDCPA by failing to disclose in
                 subsequent communications that the communication was from a debt collector
                 as Defendant calls Plaintiff and hangs up without leave a voicemail message.
              f. Defendant violated §1692e(11) of the FDCPA by failing to disclose in
                 subsequent communications that the call is from a debt collector because
                 Defendant calls Plaintiff and hangs up without leaving a voicemail message.
              g. Defendant violated §1692e(11) of the FDCPA by failing to disclose in
                 subsequent communications that the communication was from a debt collector
                 as Defendant calls Plaintiff and hangs up without leave a voicemail message

       17.    Plaintiff is entitled to her attorney’s fees and costs incurred in this action.

       18.    This case presents an actual and justiciable controversy within the meaning of the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 - 2202.




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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

              a. Declaratory judgment that Defendant’s conduct violated the Fair Debt
                 Collection Practices Act, 15 U.S.C. § 1692 et seq;
              b. Actual damages
              c. Statutory damages pursuant to 15 U.S.C. § 1692k
              d. Reasonable attorneys’ fees, costs pursuant to 15 U.S.C. § 1692k; and
              e. Awarding such other and further relief as may be just, proper and equitable.


                               DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend.

7. Fed.R.Civ.Pro. 38.




                                                    KROHN & MOSS, LTD


Dated: February 23, 2010
                                                    By: s/ Lee Cassie Yates______________
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                                                       Attorney for Plaintiff




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